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                                                  Exhibit B To FAC




                                UNITED AFRICAN-ASIAN ABILITIES CLUB
                           Florida: 5335 Falling Water Dr. Orlando, FL 32818
                           California: 515 P St., #207 Sacramento, CA 95814
                                 P: 619-866-4576 * F: (916) 330-3339



                Accessibility Auxiliary Aid, Program, Service, Rules, Practices, Policy
                                And Reasonable Modification Report

 I.   Preliminary Statement And Caveats

      The United African Asian Abilities Club and Lightning Law, APC requested that this access report
      be prepared as part of the initial complaint filed with the Court. It is the understanding of the author
      of this report that the United African Asian Abilities Club and Lightning Law, APC conducted a site
      inspection of the property before the complaint was filed. The United African Asian Abilities Club
      and Lightning Law, APC provided the author of this report with the photographs that were taken
      during the site inspection. This report is only a preliminary report. The author of this report may or
      may not be the expert for the purposes of a motion for summary judgment or a jury trial.


      Property Information:         DUPART FAMILY ASSOCIATES, LLC
      Property Location:            1535 North Detroit Street Los Angeles, CA 90046
      Property Parcel No.:          5548-011-058

II.   Qualification

        EVIDENCE CODE SECTION 720 – 723. 720. (a) A person is qualified to testify as an expert if
        he has special knowledge, skill, experience, training, or education sufficient to qualify him as an
        expert on the subject to which his testimony relates. Against the objection of a party, such special
        knowledge, skill, experience, training, or education must be shown before the witness may testify
        as an expert. (b) A witness' special knowledge, skill, experience, training, or education may be
        shown by any otherwise admissible evidence, including his own testimony.
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III.   Reasonable Modification Investigation And The Findings Of The On-Site Investigator

       Under FHAA and ADA barriers can be addressed by the reasonable accommodation and
       reasonable modification rules. Prospective renters with disabilities desire to live in accessible
       housing. It makes no sense for them to complete a rental application without first investigating
       the access of the apartments and making FHAA requests.

       In this case, Plaintiff Club investigated the subject apartments and found barriers. These
       barriers limit the enjoyment of the apartments.

       In this case, the first FHAA issue is receiving and processing FHAA requests. Defendants have
       an affirmative duty to have a process for responding to said requests. Plaintiffs sent said
       requests to the public street and email addresses.

       On July 12, 2020 and August 20, 2020, Plaintiffs attempted to make a request at the property
       for reasonable accommodation and reasonable modification. On November 22, 2020, Plaintiffs
       also made their reasonable accommodation and modification request to Defendants in an
       email. Finally, in November, 2020, Plaintiffs mailed a letter to Defendants that made a request
       for reasonable accommodation and reasonable modification. No one responded as of the date of
       the filing of the Civil Complaint.

       The UAAAC investigator went to the property for UAAAC member to determine if UAAAC
       member could live at the apartments. The investigator found the following:

       Plaintiff Club member went to Defendant’s apartment facilities at the Property in July, 2020, and a
       second time in August, 2020, to access the rental services. The Named Individual Plaintiff has actual
       knowledge of Defendants’ overt and obvious physical barriers, that relate to this Plaintiff’s
       disabilities, to Defendants’ Property on-site office that provides rental services that this Named
       Individual Plaintiff intended to visit in July, 2020, and a second time in August, 2020, but this
       Plaintiff was deterred from accessing Defendant’s rental services at the office located on the
       Property. Defendants provide rental information, rental applications, and other rental services at the
       on-site office. Defendants’ agents confirmed to the Plaintiffs that rental information, rental
       applications, and other rental services were available at the on-site office. Defendants’ rental
       services at the Property office are not accessible. Defendants’ path of travel from the sidewalk to the
       office is not accessible since it has step changes in level along the path. There are numerous step
       changes in level that must be traversed in order to access the entrance leading into the complex.
       Defendant’s callbox is located too high to be accessible. There are also uneven surfaces and
       numerous step changes in level that must be traversed to access the rental office entrance.
       Defendant’s rental office entrance is not accessible due to a significant step change in level at the
       office door threshold that is not beveled or ramped. Additionally, Defendants office entry fails to
       provide the required level landing of sufficient dimensions. Additionally, Defendant’s rental office
       entry door operating hardware is a round knob. The Defendants do not provide the required
       directional signage as to the designated path of travel from the sidewalk to Defendant’s office. The
       Named Individual Plaintiff uses a wheelchair for mobility and these step changes in level and the
       other stated issues cause the path of travel and the office entry to be not accessible. Defendants
       failed to provide any directional signage indicating an alternate accessible path of travel to the office.
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      Defendants failed to provide the required fully compliant van accessible disabled parking for the
      office. Defendants failed to provide a dimensionally compliant van accessible disabled parking
      space and disabled parking access aisle, the required disabled parking signage, including tow away
      signage, fine signage, ground markings, and failed to locate said parking on a level surface and
      nearest the office. Defendants also failed to provide compliant tow away signage. The Named
      Individual Plaintiff requires the use of a compliant van accessible disabled parking space to safely
      exit and re-enter the vehicle. Defendants’ failure to provide the required compliant disabled parking,
      disabled parking access aisle, disabled parking disability signage, access aisle, and disability ground
      markings, such that the Named Individual Plaintiff is not able to safely park at Defendants’
      establishment since the individual Plaintiff may be precluded from exiting or re-entering the vehicle
      if the disabled parking and disabled parking signage is not present and others park improperly.
      Additionally, Defendants failed to provide the required accessible path of travel from the parking
      area to the office since the existing path of travel has step changes in level. Additionally, Defendants
      overt and obvious communication barriers were also present at the office in July, 2020, and a second
      time in August, 2020. Defendants failed to provide any method of text communication with their
      rental services and failed to publish any information as to how to initiate text communication contact.
      The Named Individual Plaintiff had actual knowledge of these barriers at Defendants’ Property that
      Plaintiff intended to visit, and the Named Individual Plaintiff was deterred from accessing
      Defendants’ rental services at the Property again in November, 2020.

IV.   Auxiliary Aid Barriers

      A. Phone

         This matter involves effective communication via TTY. See Exhibit A. In this case,
         Plaintiff Club investigated the subject apartments and found Defendants had no
         TTY/TDD, they had no manner of providing rental services at the manager's office despite
         steps leading thereto and the Internet advertising had no reasonable accommodation
         information.

         Defendants advertises on the Internet, the following are the links to the advertising:
         apartmentguide.com, trulia.com, zillow.com, hotpads.com. Defendants have the right to log
         in, to modify the content of the advertising. Therefore, Defendants control the advertising.
         All of the ads contain a number to call. However, the ads do not include California Relay
         System number, the TTY number or any other way for a deaf person or a person with a
         speech condition to communicate with the Defendant regarding the rental services.

         Having a TTY available is also essential, the cost of a TTY machine is $300-$1000
         depending on what type of model you purchase. (source: Communications of the ACM
         May 1992 v35 n5 p80)TTYs (TDD) can be rented from US West for five dollars a month.


      B. What is a TTY?

         The teletypewriter, or TTY, is a device that lets people type back and forth using regular
         telephone lines.
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       Teletypewriters were used for many years by news organizations and businesses. These
       organizations used teletypewriters to send and receive news using existing telephone lines. Other
       machines were directly connected to each other on private lines. In the 1960’s, these
       teletypewriters were modified for use by deaf people. Robert Weitbrecht, a deaf physicist,
       designed an acoustic coupler that could convert the electrical signals coming from the TTY to
       activate the keys of the TTY and print the message.

       The teletypewriter has been called by several names, including Telecommunication Device for
       the Deaf (TDD) or Text Telephone (TT). However, a national organization, Telecommunications
       for the Deaf, Inc. (TDI), has taken a firm stand and endorses the acronym of “TTY” to represent
       all text telephones.

       TDI publishes a national directory and guide to resources that are available to enhance
       telecommunications accessibility for persons who are deaf, hard
       of hearing, deaf-blind, and speech impaired.

       What equipment is needed for a TTY conversation and how much does it cost?
       TTY equipment weighs two to five pounds and includes a three or four-row keyboard, a display
       for reading the typed message, a modem or modular
       connection, AC power, and rechargeable, replaceable batteries. It can also have a printer/auto
       answering machine. There are many different models and styles
       of TTYs for sale. Prices range from $200 to $1,000. They can be purchased from the
       manufacturer, catalogs, and electronics stores.


    C. Disparate Impact From The Internet Photographs

       Defendant advertises the subject property on webs sites it controls and others, including
       but not limited to the following websites: apartmentguide.com, trulia.com, zillow.com,
       hotpads.com. With each of the said websites, the user controls the content of the page for
       the user. Therefore, the defendants control the content for each of the websites.
       Defendants’ NSAs state the following about the property: The property was built in 1985
       and has 39 units. The rent is approximately: $1,000. The internet provides a wealth of
       information regarding the property. The internet advertises that the property has
       amenities that include: Pet Policy No Pets Allowed, Parking Garage, Lease Length 12
       Months, Laundry Facilities, Elevator, Sauna, Air Conditioning, Smoke Free, Dishwasher,
       Granite Countertops, Stainless Steel Appliances, Kitchen, Hardwood Floors, Controlled
       Access.
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    The following are the photographs downloaded from the Internet:




                                 The stairway and the kitchen area.




                                 The apartments view.




                                 The bedroom area.
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                                   The bathroom area.




                                   The bedroom area.




                                   The closet area.

           Photographs Narrative:

    The Internet photographs suggest a preference for people without disabilities. The Internet picture of
    the living area does not provide any depiction of any access for people with disabilities. The Internet
    picture of the dining area does not provide any depiction of any access for people with disabilities.
    The Internet picture of the bedroom area does not provide any depiction of any access for people
    with disabilities. The Internet picture of the apartments view does not provide any depiction of any
    access for people with disabilities. The Internet picture of the closet area does not provide any
    depiction of any access for people with disabilities. The Internet picture of the stairway area does not
    provide any depiction of any access for people with disabilities. The Internet picture of the kitchen
    area does not show how the kitchen can be modified for a person with a disability. The Internet
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       picture of the bathroom area does not show how the bathroom can be modified for a person with a
       disability.


The following photographs were obtained by the Plaintiffs at the Property:

       1. ACCESSIBLE ROUTE:




                               The path of travel with steps without access way signs. Without way signs the
public and residents would be required to search for the accessible entrance or surmise that there is not an
alternative accessible entrance.




                               The path of travel with steps without access way signs. Without way signs the
public and residents would be required to search for the accessible entrance or surmise that there is not an
alternative accessible entrance.
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                              Also, the doorknob, which required tight twisting. Many elderly and
residents have difficulty grasping round doorknobs.




                               The path of travel with steps without access way signs. Without way signs the
public and residents would be required to search for the accessible entrance or surmise that there is not an
alternative accessible entrance.




                               The path of travel with steps without access way signs. Without way signs the
public and residents would be required to search for the accessible entrance or surmise that there is not an
alternative accessible entrance. Also, the doorknob, which required tight twisting. Many elderly and
residents have difficulty grasping round doorknobs.
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                               The path of travel with steps without access way signs. Without way signs the
public and residents would be required to search for the accessible entrance or surmise that there is not an
alternative accessible entrance. Also, the doorknob, which required tight twisting. Many elderly and
residents have difficulty grasping round doorknobs.




                              Also, the doorknob, which required tight twisting. Many elderly and
residents have difficulty grasping round doorknobs.

       2. PARKING:




                                 Additionally, the parking lot lacks accessible parking. The accessible
parking is the first accessible feature that people with disabilities look for. The accessible parking must have
the correct access aisle, which is 5x9 or for the van 8x9, must have the International Symbol of
Accessibility, must have the $250 tow away sign, must have the van accessible sign and must have the tow
away sign at every parking lot entrance. Also, the parking space must be the closest to the entrance.
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       3. STAIRWAYS:




                              Moreover, the stairways had no color contrasting for people with eye
conditions. In fact, none of the steps found had color contrasting. People with sight challenges have a
problem distinguishing between colors that are very similar. If the person with a sight limit cannot
distinguish between colors within the path of travel or steps the person will not be able to traverse within the
environment. Color contrasting allows people with sight conditions to distinguish between objects within the
environment and to enable them to safety negotiate traversing the environment.


V.     Attached Photographs Were Obtained At The Property
             The photographs attached after the signature block were obtained at the Property.


Dated: November 26, 2020




                                      By:
                                                     SHARON RIGUER,
                                                     President of United African-Asian Abilities Club
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